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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF VIRGINIA

Richmond Division
UNITED STATES OF AMERICA,
Vv. Criminal No. 3:15mj122 (DJN)
DEREK MICHAEL CHANDLER,
Defendant.
MEMORANDUM OPINION

On June 12, 2015, Defendant Derek Michael Chandler (“Defendant”) pled guilty to one
count of larceny of government property in violation of 18 U.S.C. § 641. On December 11,
2015, the undersigned, then serving as a United States Magistrate Judge, sentenced Defendant to
11 months’ imprisonment, 12 months’ supervised release, a $25 special assessment and $1,264
in restitution. Defendant left prison in September 2019. He violated the terms of his supervised
release in December 2019. On February 18, 2020, the Court conducted a final revocation
hearing during which Defendant admitted the violations. The Court revoked his term of
supervision and sentenced Defendant to 12 months’ imprisonment with credit for time-served
since his December 2019 arrest.

This matter now comes before the Court on Defendant’s Motion for Compassionate
Release (ECF No. 52), which moves pursuant to 18 U.S.C. § 3582(c)(1)(A) for Defendant’s
release in light of his medical conditions and the outbreak of Coronavirus Disease 2019
(“COVID-19”).! For the reasons set forth below, the Court DENIES Defendant’s Motion (ECF

No. 52).

 

I On July 2, 2020, Defendant, proceeding pro se, filed his initial Motion for

Compassionate Release (ECF No. 47). The Court then appointed counsel for Defendant, who
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I. BACKGROUND
A. Defendant’s Underlying Offense
On April 27, 2015, officers received a report of an unknown black male driving a blue
SUV and striking two other vehicles in an attempt to leave the Fort Lee Army and Air Force
Exchange Service (“AAFES”) gas station parking lot. (August 19, 2015, Presentence
Investigation Report (“PSR”) (ECF No. 16) § 12.) The vehicle left the parking lot and ran
through two red lights. (PSR ¥ 12.) Officers later identified the driver of the vehicle as
Defendant. (PSR { 12.) Further investigation revealed that on April 24, 25, 26 and 27, 2015,
Defendant had removed various alcohol bottles from the shelves of the AAFES gas station,
removed their bar code stickers and concealed the items in his clothing before exiting the store.
(PSR { 12.)
B. Procedural History
On April 28, 2015, the Court issued an arrest warrant for Defendant, and Defendant made
his initial appearance on May 15, 2015. (ECF Nos. 2, 4.) On June 12, 2015, Defendant pled
guilty to one count of larceny of government property in violation of 18 U.S.C. § 641. (PSR {
9.) On December 11, 2015, the undersigned sentenced Defendant to 11 months’ imprisonment,
12 months’ supervised release, a $25 special assessment and $1,264 in restitution. (ECF No. 26.)
The Court ordered that Defendant serve his sentence consecutive to any sentence that he received

in the pending state case matter. (ECF No. 26.)

 

filed a renewed Motion for Compassionate Release (ECF No. 52) on Defendant’s behalf.
Because Defendant’s counsel has reviewed Defendant’s initial arguments and incorporated them
into Defendant’s renewed Motion (ECF No. 52), for the same reasons that the Court denies
Defendant’s renewed Motion, the Court also DENIES Defendant’s initial Motion (ECF No. 47).

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Following Defendant’s release from prison, on December 17, 2019, Defendant’s
probation officer petitioned for Defendant’s arrest, citing four violations of Defendant’s
supervised release, namely: (1) his December 5, 2019, arrest for felony shoplifting in Prince
George County; (2) the return of a urine sample that tested positive for cocaine; (3) his repeated
failure to appear for substance abuse treatment at BAC; and, (4) his failure to report for drug
testing on three occasions as directed by his probation officer. (Pet. on Supervised Release
(“2019 Pet.”) (ECF No. 30) at 4.) On February 18, 2020, Defendant pled guilty to violating the
terms of his supervised release, and received a sentence of 12 months’ imprisonment with no
supervision to follow. (ECF No. 45.) Defendant received credit for time-served from his
December 5, 2019 arrest. (ECF No. 45.)

C. Defendant’s Motion for Compassionate Release

After Defendant began serving his sentence, the first cases of COVID-19 emerged in the
United States, including within the federal prison system. See Fed. Bureau of Prisons, COVID-
19 Coronavirus, www.bop.gov/coronavirus (showing updated figures on the number of inmates
and prison staff who have tested positive for COVID-19). In response, on July 31, 2020,
Defendant moved for compassionate release pursuant to § 3582(c)(1)(A). (Mem. In Supp. Of
Mot. For Compassionate Release (“Def.’s Mot.”) (ECF No. 52) at 1-2.)

In support of his Motion, Defendant argues for early release, because his medical
condition renders him particularly susceptible to COVID-19. (Def.’s Mot. at 1.) Specifically,
Defendant avers that he suffers from asthma, which he maintains increases the likelihood of
COVID-19 complications should he contract the disease. (Def.’s Mot. at 1-2.) Defendant
further contends that he has a particularized risk of contracting COVID-19, because the Bureau

of Prisons (“BOP”) facility that houses Defendant has reported incidences of the disease. (Def.’s
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Mot. at 15-20.) Specifically, Defendant notes that while FCI Petersburg Medium — the facility
where Defendant is confined — has only reported one positive test among its inmate population,
it has only recently begun testing and has only tested 133 out of 1,446 inmates. (Def.’s Mot. at
16-17.) Defendant argues that the facility actually has a greater number of positive tests and that
a high risk exists that these numbers will continue to grow given that the prison setting makes the
recommendations of the CDC more difficult to achieve. (Def.’s Mot. at 16-17.)

As for whether his release comports with the relevant § 3553(a) factors and policy
statements, Defendant argues that he will not present a danger to the community if released,
because of his status as a non-violent offender. (Def.’s Mot. at 20.) Defendant notes that he has
maintained clear conduct during his incarceration, although the COVID-19 pandemic has limited
his opportunities to take advantage of prison programming. (Def.’s Mot. at 20-21.) Defendant
avers that he has the support of his wife and family should the Court order his release. (Def.’s
Mot. at 21.).

Finally, Defendant argues that he has a viable release plan, which involves living with his
wife and her son. (Def.’s Mot. at 21.) He mentions his wife’s former role as a correctional
officer and her willingness to provide transportation as needed. (Def.’s Mot. at 21.) A probation
officer in the Chesterfield Office of State Probation and Parole states that, upon his release,
Defendant will receive a case manager and have the opportunity to participate in a number of
substance abuse and mental health programs. (Def.’s Mot. at 21-22.)

The Government filed its Response to Defendant’s Motion on August 17, 2020, (Gov’t’s
Resp. in Opp. to Def.’s Mot. for Compassionate Release (“Gov't Resp.”) (ECF No. 56)).
Pointing to Defendant’s criminal record, his misconduct while on supervision and lack of a

viable release plan, the Government opposes Defendant’s motion.
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Il. STANDARD OF REVIEW
As amended by the First Step Act, 18 U.S.C. § 3582(c)(1)(A) authorizes courts to modify

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a criminal defendant’s sentence for “extraordinary and compelling reasons” “upon motion of the
Director of the Bureau of Prisons” or “upon motion of the defendant after the defendant has fully
exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion
on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden
of the defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A)@). By its plain
language, § 3582(c)(1)(A) requires defendants to first exhaust administrative remedies or wait
thirty days after requesting that the warden of their facility file a motion for a sentence reduction;
however, courts have waived this requirement when enforcing it would prove futile. See, e.g.,
Washington v. BOP, 2019 WL 6255786, at *2 (N.D. Ohio July 3, 2019) (explaining in
addressing motion for recalculation of good time credit under First Step Act that “[t]he failure to
exhaust administrative remedies may be excused if seeking administrative remedies would be
futile”).

Once the administrative remedies under § 3582(c)(1)(A) have been exhausted or waived,
the Court may reduce or modify a sentence when “extraordinary and compelling reasons warrant
such a reduction.” In determining what constitutes “extraordinary and compelling reasons,”
courts have considered related policy statements under the United States Sentencing Guidelines,
though such statements are not binding. See, e.g., United States v. Beck, 425 F. Supp. 3d 573,
582 (M.D.N.C. 2019) (considering what the Sentencing Guidelines defined as “extraordinary and
compelling reasons”). These policy statements provide that a defendant’s medical conditions,

age, family circumstances or other circumstances, either singly or in combination, can prove
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sufficiently extraordinary and compelling to justify compassionate release. USSG § 1B1.13,
application notes 1(A)-(D).

However, to be extraordinary and compelling, a defendant’s medical conditions must be
either “terminal . . . with an end of life trajectory” or must “substantially diminish{] the ability of
the defendant to provide self-care within the environment of a correctional facility and from
which he or she is not expected to recover.” § 1B1.13, application note 1(A). Similarly, a
defendant may be released based on his advanced age when he “is at least 65 years old,” “is
experiencing a serious deterioration in physical or mental health because of the aging process”
and “has served at least 10 years or 75 percent of his or her term of imprisonment.” § 1B1.13,
application note 1(B). Defendants may also seek compassionate release based on family
circumstances, including when the caregiver of a defendant’s minor child has died or become
incapacitated, or when the defendant’s spouse or partner has become incapacitated and the
defendant constitutes the only available caregiver. § 1B1.13, application note 1(C). Finally, the
Sentencing Guidelines contemplate situations in which “there exists in the defendant’s case an
extraordinary and compelling reason [for compassionate release] other than, or in combination
with, [the defendant’s medical conditions, age and family circumstances].” § 1B1.13,
application note 1(D).

Relevant here, “[i]n the context of the COVID-19 outbreak, courts have found
extraordinary and compelling reasons for compassionate release when an inmate shows both a
particularized susceptibility to the disease and a particularized risk of contracting the disease at
his prison facility.” United States v. Feiling (Feiling D, 453 F. Supp. 3d 832, 841 (E.D. Va.
2020) (citing United States v. Dungee, 2020 WL 1666470, at *2 (W.D. Va. Apr. 4, 2020); United

States v. Edwards, _ F. Supp. 3d __, 2020 WL 1650406, at *5 (W.D. Va. Apr. 2, 2020)). “To
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establish a particularized risk of contracting COVID-19, an inmate must first demonstrate that
cases of COVID-19 have emerged at his facility.” United States v. Feiling (Feiling I], 2020 WL
5047064, at *7 (E.D. Va. Aug. 26, 2020). However, even then, “COVID-19 and an inmate’s
susceptibility to it do not justify compassionate release when . . . the inmate refuses additional
protections afforded to him by the BOP without good cause and continues to voluntarily place
himself in an environment in which he faces the highest risk of contracting the disease.” Id.
Even if extraordinary and compelling reasons exist for a defendant’s compassionate
release, § 3582(c)(1)(A) requires courts to consider “the factors set forth in section 3553(a) to the
extent they are applicable” and “applicable policy statements issued by the [United States]
Sentencing Commission” before granting a sentence modification. To that end, § 3553(a)
requires courts to consider, among other factors, the nature and circumstances of the underlying
offense and the history and characteristics of the defendant, as well as the need for the sentence
imposed to reflect the seriousness of the offense, promote respect for the law, provide just
punishment, afford adequate deterrence and protect the public from further crimes of the
defendant. 18 U.S.C. § 3353(a)(1)-(2). Additionally, the Sentencing Commission has advised
courts to consider whether, based on the factors set forth in 18 U.S.C. § 3142(g), a defendant

would present a danger to the safety of any other person or the community if released.2_ USSG

 

2 As modified in the context of a compassionate release motion, before releasing a

defendant, courts should consider: (1) the nature and circumstances of the offense of conviction,
including whether the offense is a crime of violence, a violation of § 1591, a terrorism offense, or
an offense involving a minor victim, controlled substance, firearm, explosive or destructive
device; (2) the weight of the evidence against the defendant; (3) the history and characteristics of
the defendant, including his or her character, physical or mental condition, family and
community ties, financial resources, history of substance abuse and criminal history, as well as
whether at the time of the instant offense, the defendant was on a period of probation, parole or
other form of release; and, (4) the nature and seriousness of the danger to any person or the
community that would be posed by the defendant’s release. 18 U.S.C. § 3142(g)(1)-(4).

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§ 1B1.13(2). And the Sentencing Commission has emphasized that a defendant’s rehabilitation
while incarcerated, alone, proves insufficient to warrant a sentence reduction. § 1B1.13,
application note 3.

Ultimately, the Court may grant compassionate release only after a defendant establishes
an extraordinary and compelling reason for his release and the Court finds that the defendant’s
release would not undermine the relevant § 3553(a) factors or any relevant policy statements
issued by the Sentencing Commission.

Ill. ANALYSIS

A. Defendant Does Not Demonstrate that Extraordinary and Compelling Reasons
Entitle Him to Compassionate Release.

Defendant must show that his circumstances present “extraordinary and compelling
reasons” entitling him to compassionate release. Defendant argues that the heightened risk of
contracting COVID-19 in prison coupled with his preexisting condition could result in severe
illness or death. (Def.’s Mot. at 9-10.) Defendant contends that his asthma, a chronic respiratory
disease, puts him at risk of developing more severe symptoms should he contract the disease.
(Def.’s Mot. at 11-12.)

In response to Defendant’s Motion, the Government argues that Defendant has not
established extraordinary and compelling reasons entitling him to compassionate release. (Gov’t
Resp. at 9.) Specifically, the Government contends that Defendant has established neither a
particularized susceptibility to COVID-19, nor a heightened risk of contracting the disease at his
prison facility. (Gov’t Resp. at 10-13.) The Government maintains that Defendant’s claim of
asthma as an extraordinary and compelling reason relies on his own statements that he “has to
use his inhaler more often and needs a refill,” and ignores the directives of his prescription that

he “should not use daily” and his own contentions that his inhaler use “is dependent on the
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weather.” (Gov’t Resp. at 11-12.) Likewise, the Government avers that Defendant’s medical
records fail to establish that Defendant suffers from decreased lung function or that his asthma
has become so persistent as to qualify as moderate or severe. (Gov’t Resp. at 12.) The Court
agrees with the Government.

As a threshold matter, neither party contends that Defendant has failed to exhaust his
administrative remedies under § 3582(c)(1)(A). Indeed, Exhibit 1 to Defendant’s Motion shows
that Defendant submitted a request for compassionate release to the warden at FC] Petersburg on
May 12, 2020, and received a denial letter on May 22, 2020. (Ex. 1 to Def.’s Mot. (ECF No. 52-
1) at 1.) Accordingly, the Court finds that Defendant has exhausted the administrative remedies
outlined under § 3582(c)(1)(A) and that the Court has jurisdiction to consider the merits of
Defendant’s Motion.

To that end, the Court finds that Defendant has not established an extraordinary and
compelling reason for his release. As mentioned, “[iJn the context of the COVID-19 outbreak,
courts have found extraordinary and compelling reasons for compassionate release when an
inmate shows both a particularized susceptibility to the disease and a particularized risk of
contracting the disease at his prison facility.” Feiling I, 453 F. Supp. 3d at 841 (citations
omitted). Here, Defendant has not made the initial showing of a particularized susceptibility to
COVID-19.

To establish a particularized susceptibility to COVID-19, courts have required defendants
to provide evidence that they suffer from a medical condition identified by the Centers for
Disease Control and Prevention (“CDC”) as a COVID-19 risk factor. See, e.g., United States v.
Beahm, 2020 WL 4514590, at *2 (E.D. Va. Aug. 5, 2020) (finding the defendant particularly

susceptible to COVID-19, because the defendant suffered from type II diabetes, which the CDC
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has identified as a COVID-19 risk factor); United States v. White, 2020 WL 3442171, at *5 (E.D.
Va. June 23, 2020) (finding that the defendant had a particularized susceptibility to COVID-19,
because he suffered from several medical conditions identified as COVID-19 risk factors).
Indeed, a general fear of contracting COVID-19, without a sufficient basis for that fear, does not
provide an extraordinary and compelling reason for a defendant’s release. See United States v.
Raia, 954 F.3d 594, 597 (3d Cir. 2020) (“[T]he mere existence of COVID-19 in society ...
cannot independently justify compassionate release.”); Feiling I, 453 F. Supp. 3d at 841
(“Notably, ‘the fear of contracting a communicable disease’ proves insufficient to justify a
sentence modification.” (quoting United States v. Clark, 451 F. Supp. 3d 651, 656 (M.D. La.
2020) (emphasis added))).

In the instant case, Defendant argues that he has a particularized susceptibility to
COVID-19 due to his asthma. (Def.’s Mot. at 11-12.) However, the Court’s review of
Defendant’s health records reveals that Defendant’s condition proves not so severe as to
establish his particularized susceptibility to COVID-19.

For one, although BOP medical staff list asthma as one of Defendant’s conditions and
prescribe him an inhaler, Defendant’s medical records make little note of this condition aside
from Defendant’s own claim that he has to use his inhaler “more often” and that his condition
“depend[s] on the weather.” (Bureau of Prisons Health Servs. Rec. (“Med. R.”) (ECF No. 59) at
5, 7.) In fact, Defendant’s prescription states, “don’t use daily,” and commands Defendant to
take only “as needed.” (Med. R. at 8, 36.) The Court finds that the medical evidence does not
support a finding that Defendant’s asthma renders him particularly susceptible to COVID-19.
Although medical providers have diagnosed Defendant with asthma, his condition has remained

mild and intermittent. Certainly, Defendant’s asthma increases the likelihood that he will

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become symptomatic if he contracts COVID-19, but the medical records do not indicate that
Defendant’s susceptibility constitutes an extraordinary and compelling reason for his
compassionate release.

B. The Court Finds that the § 3553(a) Factors Do Not Support Defendant’s Release.

The Court also finds that the § 3553(a) factors do not support Defendant’s release. In
support of his Motion, Defendant argues that he will not present a danger to the community if
released, because he qualifies as a non-violent offender and has maintained clear conduct while
incarcerated. (Def.’s Mot. at 20.) Defendant further contends that he has a viable release plan,
which includes living with his wife and her son in a two-bedroom home. (Def.’s Mot. at 21.)
Defendant’s wife has arranged Defendant’s medical care and insurance coverage, and she avers
that she can provide transportation to her husband as needed for medical appointments, probation
meetings and AA and NA meetings upon his release. (Def.’s Mot. at 21.) A probation officer
with the Chesterfield Office of State Probation and Parole maintains that Defendant has
eligibility for a number of rehabilitative programs through the Chesterfield Community Service
Board. (Def.’s Mot. at 21-22.)

The Government argues that Defendant’s release would undermine the relevant § 3553(a)
factors and policy statements. (Gov’t Resp. at 15.) The Government asserts that Defendant
remains a danger to the community, noting that his criminal history placed him in Criminal
History Category VI when the Court sentenced him in 2015. (Gov’t Resp. at 16.) Specifically,
Defendant has numerous theft-related offenses starting at age 15 and ending with his latest
charges, acquired while under the Court’s supervision. (Gov’t Resp. at 16.) The Government
argues that Defendant’s risk of recidivism remains high, a factor that cautions against his early

release. (Gov’t Resp. at 16-17.)

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The Court agrees with the Government and finds that the relevant § 3553(a) factors do
not support Defendant’s compassionate release. For one, Defendant’s instant offense follows an
extensive criminal history, which started at age 15. (PSR ¥ 28.) Specifically, his criminal
history includes multiple theft-related offenses, evincing a lack of respect for the law and ability
to learn from his past. (PSR § 39-62.) The fact that Defendant violated the conditions of his
supervised release by committing acts similar to his underlying charge only serves to further
underline this conclusion. (2019 Pet. at 2.) Defendant’s extensive criminal history also includes
several violent offenses, including several convictions for domestic assault, one for assault and
battery and one for assault on a police officer. (PSR {ff 39, 47, 53, 57.) Defendant’s plan for
release does little to influence this analysis.

Together, both the nature and circumstances of Defendant’s underlying offense and his
criminal history weigh against his release. Ultimately, even if extraordinary and compelling
reasons did exist for Defendant’s compassionate release, the Court, in its discretion and after
considering the relevant § 3553(a) factors and policy statements, finds that releasing Defendant
at this time would not adequately protect the public, promote respect for the law, deter Defendant
and others from engaging in similar conduct or reflect the seriousness of Defendant’s offense.
Accordingly, the Court DENIES Defendant’s Motion for Compassionate Release.

IV. CONCLUSION
For the reasons set forth above, the Court DENIES Defendant’s Motion for

Compassionate Release (ECF No. 52). An appropriate Order shall issue.

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Let the Clerk file a copy of this Memorandum Opinion electronically and notify all

counsel of record. AN
/s/ |

David J.Novak =>
United States District Judge

Richmond, Virginia
Dated: October 19, 2020

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